Case 2:15-cv-08401-EP-JBC Document 189-6 Filed 12/19/22 Page 1 of 6 PageID: 2286




               EXHIBIT “D”
Case
 Case2:15-cv-08401-EP-JBC
      2:15-cv-08401-ES-JAD Document
                            Document189-6 Filed07/24/19
                                     122 Filed  12/19/22 Page
                                                          Page12ofof56PageID:
                                                                       PageID:1658
                                                                               2287




 Not for Publication

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

                                                   :
 ALEJANDRO MORALES,                                :
                                                   :           Civil Action No. 15-8401 (ES) (JAD)
                         Plaintiff,                :
                                                   :                            ORDER
                         v.                        :
                                                   :
 HEALTHCARE REVENUE                                :
 RECOVERY GROUP, LLC, et al.,                      :
                                                   :
                         Defendants.               :
                                                   :

 SALAS, DISTRICT JUDGE

 It appearing that:

        1.      Before the Court is defendant Healthcare Revenue Recovery Group, LLC’s

 (“Defendant’s”), motion for summary judgment. (D.E. No. 114). Among other arguments,

 Defendant submits that the complaint of plaintiff Alejandro Morales (“Plaintiff”) should be

 dismissed for lack of standing. (See D.E. No. 114-5 at 20–23; D.E. No. 121 at 15–18).1 For the

 reasons discussed below, the Court agrees and will dismiss the Complaint.

        2.      Injury in fact is “[f]irst and foremost” of Article III “standing’s three elements.”

 Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). And among other requirements, injury in

 fact requires a “a concrete injury even in the context of a statutory violation.” Id. at 1549 (emphasis

 added). Although “the risk of real harm can[ ] satisfy the requirement of concreteness,” that degree

 of risk must be “sufficient to meet the concreteness requirement.” See id. at 1549–50. But the risk

 of harm “must actually exist” rather than being only “abstract.” Id. at 1548. For instance, when



 1
        All citations to page numbers are to those generated by this Court’s CM/ECF system.
Case
 Case2:15-cv-08401-EP-JBC
      2:15-cv-08401-ES-JAD Document
                            Document189-6 Filed07/24/19
                                     122 Filed  12/19/22 Page
                                                          Page23ofof56PageID:
                                                                       PageID:1659
                                                                               2288




 a mere “procedural violation [of a statute] is not itself an injury in fact,” and a complaint does not

 “otherwise allege[] a risk of harm that satisfies the requirement of concreteness,” the plaintiff lacks

 standing. See, e.g., Kamal v. J. Crew Grp., Inc., 918 F.3d 102, 113 (3d Cir. 2019).

          3.       “[E]ach element of Article III standing ‘must be supported in the same way as any

 other matter on which the plaintiff bears the burden of proof, i.e., with the manner and degree of

 evidence required at the successive stages of the litigation.’” Bennett v. Spear, 520 U.S. 154, 167–

 68 (1997) (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992)). In other words, “a

 plaintiff must ‘set forth’ by affidavit or other evidence ‘specific facts’ to survive a motion for

 summary judgment.” Id. (quoting Fed. R. Civ. P. 56(e)).

          4.       Here, Plaintiff’s one-count Complaint alleges that Defendant sent letters to collect

 debts; on those letters, including one sent to Plaintiff (D.E. No. 1-1), a “barcode above the

 recipient’s name and address was visible through the window of the envelope” (Compl. ¶ 23); and,

 as a result, “[a]nyone c[ould] easily scan the barcode and access Plaintiff’s personal account

 number,” which “has the potential to cause harm to the consumer” (id. ¶¶ 27–28). Consequently,

 Plaintiff asserts, Defendant’s “use of . . . written communications in the form [described] violated

 sections 1692f and 1692f(8) of the FDCPA.” (Id. ¶¶ 58–60; see also id. ¶ 41(B)).2

          5.       Discovery has revealed, however, that the aforementioned “personal account

 number” is merely an “internal reference number” (“IRN”). (See D.E. No. 114-2 at 26–33

 (“Friedlander Dep.”) 98:11–99:10).3 Plaintiff concurs that “a scan of the barcode reveals [an]



 2
          15 U.S.C. § 1692f(8) provides that it “is a violation of this section” for a debt collector to use “any language
 or symbol, other than the debt collector’s address, on any envelope when communicating with a consumer by use of
 the mails or by telegram . . . .”
 3
           The IRN derivable from a scan of the barcode on the envelope sent to Plaintiff (see D.E. No. 1-1) is
 “          ” and “is also identified as a ‘CRS #’ and ‘Master #’ in Defendant’s collection software.” (D.E. No. 119-2
 at 2 ¶ 5 & 6 ¶ 29).

                                                          -2-
Case
 Case2:15-cv-08401-EP-JBC
      2:15-cv-08401-ES-JAD Document
                            Document189-6 Filed07/24/19
                                     122 Filed  12/19/22 Page
                                                          Page34ofof56PageID:
                                                                       PageID:1660
                                                                               2289




 internal reference number” (see, e.g., D.E. No. 119-2 at ¶ 5) and uncontroverted deposition

 testimony specifically distinguished an IRN from an “account number” (see, e.g., Friedlander Dep.

 167:25–168:15; id. 158:6–8 (recognizing that “the barcode doesn’t even contain any portion of an

 account number”); see also D.E. No. 119 at 22–23).

          6.        The IRN derivable from a scan of the barcode on the envelope sent to Plaintiff (see

 D.E. No. 1-1) “might not be unique to [Plaintiff]” (see Friedlander Dep. 99:1–10 & 101:17–102:8)

 and could pertain to “ten to 20 to even 25” other people (see id. 109:17–110:23; see also D.E. No.

 119 at 8 ¶ 4 (conceding that the IRN “is unique to the Plaintiff or twenty-five alleged debtors”

 (emphasis added)).4 And two witnesses, including Plaintiff, testified that they are not aware of

 “any way” in which someone could use a scan of the barcode “to reveal [one’s] financial position,”

 “identify [one’s] financial status,” or even simply “to determine that [a letter containing the IRN

 barcode] was from a debt collector.” (See D.E. No. 114-2 at 41–54 (“Plaintiff Dep.”) 115:11–

 116:18 (emphasis added); Friedlander Dep. 168:9–12). The record is devoid of evidence to the

 contrary. For instance, when asked how his “rights and privacy were violated” by inclusion of the

 barcode, Plaintiff testified that it was “really just speculation in regard to how exactly it was done”

 (Plaintiff Dep. 116:13–18) and that he did not have “any personal knowledge about what may have

 been revealed about [him]” by the barcode (id. 43:21–44:6; see also id. 33:9–12).

          7.        Nonetheless, Plaintiff asserts that there are various ways in which an IRN, once

 derived by a barcode scan, “can be used.” (See, e.g., D.E. No. 119-2 ¶¶ 11–13, 23 & 26). For


 4
           Although Plaintiff elsewhere asserts that the IRN derivable from the barcode on the envelope sent to Plaintiff
 is “unique to Plaintiff” (see D.E. No. 119-2 ¶ 28), the evidence Plaintiff cites in support of that proposition suggests
 merely that the IRN corresponds to Plaintiff. (See D.E. No. 119-4 (Kim Decl. Ex. B at HRRG 46 to HRRG 48)). But
 that fact is not contested; and it is fallacious to conclude that simply because the IRN corresponds to Plaintiff, it does
 not correspond to other people. See, e.g., Toussaint v. Good, No. 05-0443, 2008 WL 2994768, at *2 n.1 (W.D. Pa.
 Aug. 4, 2008), aff’d, 335 F. App’x 158 (3d Cir. 2009) (discussing the fallacy of affirming the consequent). In other
 words, if            corresponds to Plaintiff (say, “P →             ”), it does not follow that Plaintiff is the only person
 to whom              corresponds (say, “              → P”).

                                                            -3-
Case
 Case2:15-cv-08401-EP-JBC
      2:15-cv-08401-ES-JAD Document
                            Document189-6 Filed07/24/19
                                     122 Filed  12/19/22 Page
                                                          Page45ofof56PageID:
                                                                       PageID:1661
                                                                               2290




 instance, a representative of Defendant could “bring up a specific consumer’s account

 information” if prompted by a person with both an IRN and “identification information”—i.e., a

 “date of birth or the last four digits of [a] Social Security number.” (See Friedlander Dep. 117:14-

 118:25 & 118:16–17; id. ¶ 23). But such theoretically possible invasions of privacy were not

 pleaded in the Complaint, which asserted only that ‘“[a]nyone can easily scan the barcode and

 access Plaintiff’s personal account number,” which “has the potential to cause harm.” (Compl. ¶¶

 27–28 (emphasis added)); see generally, e.g., St. Pierre v. Retrieval-Masters Creditors Bureau,

 Inc., 898 F.3d 351, 357–58 (3d Cir. 2018) (recognizing “that the exposure of a plaintiff’s account

 number through a glassine window implicates a core concern animating the FDCPA”).5

          8.        The Court, however, may consider only the theory of standing pleaded in the

 Complaint; “[a plaintiff] may not effectively amend [his] [c]omplaint by raising a new theory of

 standing in . . . response to a motion for summary judgment.” See Blunt v. Lower Merion Sch.

 Dist., 767 F.3d 247, 286 n.57 (3d Cir. 2014). “Simply put, summary judgment is not a procedural

 second chance to flesh out inadequate pleadings.” Id. (internal quotation marks omitted).

          9.        And on the theory of standing pleaded in the Complaint, Plaintiff has not alleged a

 concrete injury. First, as discussed above, discovery has not shown that Defendant exposed

 Plaintiff’s account number, as the Complaint had alleged. (See Compl. ¶¶ 27–28; see, e.g.,



 5
           The contrast between the theory of injury in fact pleaded in the Complaint and the theories developed on
 summary judgment is clear. For instance, under the “identification information” theory, an injury could arise when a
 third party: (i) scans the barcode; (ii) derives the IRN; (iii) obtains Plaintiff’s “identification information;” (iv) learns
 that the IRN is internal to Defendant; (v) contacts Defendant and provides the IRN and identification information; and
 (vi) (finally) learns Plaintiff’s account information. (See, e.g., D.E. No. 119-2 ¶ 23; Friedlander Dep. 117:14–118:25
 & 118:16–17). Given that the envelope did not identify Defendant’s status as a debt collector—and did not provide
 “identification information,” i.e., Plaintiff’s date of birth or Social Security Number—it is unclear how the risk of such
 an injury could be “sufficient to meet the concreteness requirement.” See Spokeo, 36 S. Ct. at 1549 & 1550; cf. Kamal,
 918 F.3d at 116 n.6 (ruling that there was no injury in fact because “as pleaded, a thief would still need to ‘pick off . .
 . different bits of information from different sources’” in order to harm the plaintiff under the relevant statute).
 Regardless, such theories were not pleaded in the Complaint and, as the Court notes above, they cannot be used now
 to avoid dismissal. See Blunt v. Lower Merion Sch. Dist., 767 F.3d 247, 286 n.57 (3d Cir. 2014).

                                                            -4-
Case
 Case2:15-cv-08401-EP-JBC
      2:15-cv-08401-ES-JAD Document
                            Document189-6 Filed07/24/19
                                     122 Filed  12/19/22 Page
                                                          Page56ofof56PageID:
                                                                       PageID:1662
                                                                               2291




 Friedlander Dep. 98:11–99:10). And Plaintiff “may not effectively amend [the] [c]omplaint by

 raising a new theory of standing.” See Blunt, 767 F.3d at 286 n.57. Second, even if the inclusion

 of the barcode on the envelope itself violated the literal text of the FDCPA, see 15 U.S.C. §

 1692f(8); (Compl. ¶¶ 58–60), that “procedural violation is not itself an injury in fact,” see Kamal,

 918 F.3d at 113, because it does not implicate the “core concern animating [that provision of] the

 FDCPA—the invasion of privacy,” see Douglass v. Convergent Outsourcing, 765 F.3d 299, 303

 (3d Cir. 2014). As discussed above, two witnesses, including Plaintiff, testified that they are not

 aware of any way in which someone could use the barcode, or the IRN derivable from it, to

 “identify [a debtor’s] financial status” or even simply “to determine that [a letter containing the

 IRN barcode] was from a debt collector.” (See Plaintiff Dep. 115:11–19 & 116:13–18 (emphasis

 added); Friedlander Dep. 168:9–12)). Finally, for the same reasons, Plaintiff has not pleaded “a

 material risk of harm.” See Kamal, 918 F.3d at 116–17.

        10.     As in Kamal, the “alleged injury is not itself concrete and the alleged risk of

 [invasion of privacy or “harm to the consumer”] is too speculative to satisfy the requirement of

 concreteness.” See id. at 119.



        Accordingly, IT IS on this 23rd day of July 2019,

        ORDERED that the Complaint is DISMISSED without prejudice; and it is further

        ORDERED that the Clerk of Court CLOSE this case.




                                                              s/Esther Salas
                                                              Esther Salas, U.S.D.J.




                                                -5-
